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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

            Plaintiff,                     CRIMINAL NO. 17-20632

 v.                                        Hon. STEPHEN J. MURPHY

 D-2 TERRY KOVAC,

            Defendant.
                                 /

               Government’s Sentencing Memorandum

       Defendant Terry Kovac, together with other grown men, preyed on

 preteen and teenage girls through unmonitored internet chatrooms.

 Kovac, in fact, worked with two different groups of men to exploit these

 girls. Kovac and his cohorts pretended to be teenage boys to lure the girls

 from regular social media websites to the unmonitored chatrooms. Once

 the girls entered these chatrooms, Kovac and his partners would

 manipulate, entice, coerce, and direct the victims to undress, masturbate,

 and do other sexual acts live on web camera. What these naïve victims

 did not know was that the boys they interacted with were really middle-

 aged men who systematically targeted them and used time-tested

 techniques to break down the girls’ defenses to get them to engage in


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 sexual activity. The victims also did not know that Kovac and his friends

 talked in a separate chat string, just among themselves, about how to

 best coerce the girls. In a contest against a well-organized, experienced

 groups of older men, these children were no match.

       Kovac and others recorded the sexual activity and shared it among

 themselves. The men engaged in the mass manipulation of these girls

 whose lives will never be the same. Hundreds of victims feel prey to

 Kovac’s groups. For his crimes, the Government recommends the Court

 sentence Kovac to 50 years in prison.

                                I
                        STATEMENT OF FACTS

       The principle group of which Kovac was a member will hereafter be

 referred to as the Skype Group, because they planned, organized, and

 strategized their activities through a series of private chat threads on the

 social media application Skype.       Their activity started in 2013 and

 continued until their arrests in April of 2017. The websites used by the

 group, the group’s characteristics, examples of their chats among

 themselves, examples of their coercion of the victims, the results of a

 search warrant execution on Kovac’s devices, his confession, and victim

 information are all addressed in turn.

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    A. Website A and Website B

       Kovac met the other Skype Group members on social media

 websites where men tried to convince both adults and minors to strip

 naked on web camera. The problem for the Skype Group was that many

 social media websites are monitored for sexual activity, and certainly for

 sexual activity involving children. Thus members of the group would

 often be banned from these more popular social media websites for

 enticing minors to engage in sexual acts.        So the group found two

 unmonitored websites—Website A and Website B—to conduct their

 criminal activity without the threat of being censored.

       Both Website A and Website B were chatroom-based social media

 platforms where people, using usernames of their choosing, went to

 different chatrooms and communicated with other users in real time.

 Unlike moderated websites, there was no central list of chatrooms on

 Website A and Website B. Therefore, users had to know the specific

 chatroom they wanted to go to in advance, or receive a link to that

 chatroom. Each chatroom had a list of users in the lower right corner of

 the screen, an active chat conversation on the lower left corner of the

 screen, and a large space above for individuals to live stream their


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 activities via web camera. At any given time, up to two users could

 broadcast their activities via web camera. A typical chatroom looked like

 this:




 Website A, featured above, was used by hundreds of men—some working

 in concert with others (like Kovac did) and some working alone—to

 sexually exploit preteen and teenage girls. With so much competition,

 however, the Skype Group created its own website, Website B, which

 looked similar to Website A. Website B lasted for less than two years

 before it was shut down and the Skype Group resumed its activity on

 Website A.


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    B. Roles and Rules of the Skype Group

       To successfully lure girls to Website A and convince them to engage

 in sex acts on camera, the Skype Group members served different roles:

 hunters, talkers, and loopers. Regardless of what role or roles each

 member played, the whole group relied on other members playing these

 roles as part of the criminal enterprise.

       Hunters. The “hunters” visited social media websites commonly

 used by teenagers to hunt for minor victims. Hunters were in charge of

 convincing the girls to logon to Website A or Website B. They provided

 the girls with links to specific chatrooms used by the group. Hunters

 then reported to the group (most often in the Skype Group discussion

 threads) about the girl they hunted and provided other group members

 with the link to the chatroom they gave to the girl. One Website A user

 described “hunting” this way:

       A hunter chooses a website called – you can call it hunting
       ground if you want . . . they choose a website. They go there .
       . . Low viewer counts are always ways to avoid competition
       with other groups. And it can also be used as a tool for
       enticement and coercion. Because if you’re broadcasting, you
       want people to talk and interact with. If they’re not there,
       well, that’s a tool. Come over here. There’s people over here
       ready to talk to you. And minor females, for the most part,
       want people to talk to and some sort of attention based on
       what I’ve seen . . . a hunter’s primary job was procuring

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       targets and minor female victims for sexual exploitation and
       redirecting them to a specific location created by the hunter.

 United States v. Fuller et al., Crim No. 16-20239, Apr. 4, 2017 Tr.

 T., 402-03.

       Talkers. Once the minors logged-on, the “talkers” took over the

 primary job of conversing with them. They asked the minors to do “dares”

 which escalated into sexual activity. One Website A user explained that

 the talker’s job was to “make the victims feel wanted . . . to slowly,

 through words and coercion and enticement try and get them [] moving

 towards committing acts of sexual nature.” (Id. at 404). This was true

 even though many victims displayed mental health issues. For example,

 one Skype Group member told the FBI that many of the minors they

 targeted engaged in self-mutilation by cutting themselves. If a girl said

 she was suicidal, it was a group rule to engage in “normal conversation”

 with her for two to three days before again asking her to engage in sexual

 activity. In this way, they would build the minor target’s trust, so that

 she would be more likely to comply with their directions in the future.

       Loopers.   If the “talkers” were unsuccessful, then the “loopers”

 played a previously recorded video of a minor actively chatting and

 performing sexual acts in a chatroom. The “looper” pretended to be the

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 minor in the video. The “looper” played the video or “loop” of a minor

 engaged in sexual activity in order to entice the minor in the chatroom to

 engage in the same sexually explicit activity. According to one Website

 A user, the looper’s first task was to “convince[] the girl that the loop is

 real . . . and there are ways to do that. Most of the younger females are

 ignorant of how live people really act all the time . . . and that’s where

 the talkers come in.      They keep constantly redirecting her thought

 process in certain ways in order for her to take the loop for granted. Most

 of the younger females . . . they’re not as tech savvy as the more older

 ones.” (Id. at 404-05).

       Whenever the group used the strategy outlined above—hunting,

 talking, looping—to successfully convince a victim to undress or

 masturbate in a chatroom, many members of the Skype Group, including

 Kovac, secretly recorded the activity.          They did this not only to

 permanently preserve what the group referred to as a “win,” but also to

 share the child pornography with one another. In fact, the Skype Group

 had a file-sharing system that was password protected for any group

 member who missed a particular night.             Website B even had an

 auto-recording system, so that the group members had recordings of


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 every single minor who went on camera at their fingertips. They aptly

 dubbed their recordings of the preteen and teenage girls “captures.”

       As a criminal enterprise, rather than a collection of independent

 actors, the Skype Group established rules for group members to follow.

 These were detailed in a txt document entitled “FIGHT CLUB”

 (borrowing on the popular 1999 movie of the same name with the most

 famous line being “the first rule of Fight Club is we don’t talk about Fight

 Club”). As that document explained, “there are certain rules which can’t

 be discussed and violating them leads to an instant ban from this group.”

 See Gov. Exh. B, Fight Club rules.          Among the group’s rules were

 prohibitions against “hoarding / contacting [the girls] outside of the chat.”

 This rule underscores the interdependence the group members have on

 one another. Within the Fight Club document, moreover, are group

 strategies “which have proven successful in the past.” These strategies

 include avoiding too much talk with so-called “boring” girls, trying “to be

 on the same page” and “sticking together,” and not “step[ping] into others

 chat” (i.e., group members were required to either stay quiet if they joined

 when a girl was about to engage in sexual activity or else leave the room

 so as not to interfere with the other members’ work). See Gov. Exh. B.


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       Beyond roles and rules, the Skype Group used its own terminology.

 As previously noted, successfully enticing a child to produce child

 pornography was considered a “win.”             And a “cap” was short for a

 captured video of child pornography produced by the group. Finally, the

 Skype Group identified victims’ ages by using a “minus” symbol from 18;

 so an 11 year-old girl would be “-7,” a 13 year-old girl “-5,” a 15 year-old

 girl “-3,” and so on.

    C. Group Chat Examples Among the Group

       As indicated above, Kovac and his cohorts used lengthy chat

 discussions (usually on Skype) to strategize their crimes.           The FBI

 recovered several of the group’s discussion threads. The first of the

 recovered threads ran from at least January 2015 through January 2016

 and was entitled “make girl happy n horny = pussy ;).” Others included

 “Chat,” “Club Cameltoe,” and “Group V2.0.”             See, e.g., Gov. Ex. C,

 Examples of Group Chat Discussions, Filed Under Seal.

       Kovac was an active participant in the private Skype Group

 discussion threads. In the recovered chats, he wrote more than 15,000

 messages to his co-conspirators. This does not account for the years of

 group chats not recovered by the FBI. Kovac’s participation spanned


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 multiple years. The overwhelming majority of Kovac’s messages related

 to victimizing the children in this case. Kovac (using the moniker Chris)

 frequently shared links to chatrooms or social media profiles of the

 victims in this case. Kovac also shared the child pornography produced

 by the group. When one young victim went to the bathroom to record

 activity, other group members voiced concern in the group-only chat that

 she would delete the recording. Kovac assured the group, “I’m recording

 it” and promised to “up” (short for upload) it to the group later. See Gov.

 Ex. C.

       Kovac also looped to the victims. This meant he used other people’s

 videos involving sexual activity—sometimes boys, sometimes girls—and

 played off the recorded video as though it was happening in real time.

 About a new loop he made involving a young male, Kovac told the other

 group members, “all of his stuff is gay hard to find,…. It’s an hour long

 loop. :P I recorded it and went to work.” Other group members then

 discussed which victim would like the new loop the best. As a looper,

 Kovac perpetuated the cycle of exploitation. That is, Kovac used another

 person’s videos, without that person’s consent, to sexually exploit new

 victims. See Gov. Ex. C.


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       Kovac served as a moderator for some rooms on Website A. In this

 role, Kovac could kick people out of rooms that did not assist the Skype

 Group in the exploitation of girls. Sometimes, Kovac used this power to

 press a reluctant victim to either produce sexual activity or be banished

 by the group.     Regarding one particular victim who the group was

 frustrated with, Kovac wrote, “I just want to dick loop her now…. Her

 attitude sucks ass…we cant be so nice to all of them all of the time…. She

 is a lost hope.” Kovac often spoke crassly like this about the girls. For

 one victim whose appearance changed since she first appeared on

 Website A, Kovac said, “looks like [MV] got ugly and looks a lil chubby.”

 In describing all of the teenage and preteen victims on Website A and

 Website B, “just face it they are all attention whores.” See Gov. Ex. C.

    D. Group Chat Examples with Victims

       The investigation into the Skype Group also resulted in the

 recovery of several chats between the group and its victims. Kovac was

 an active “talker” and “looper” for the group. He engaged in extremely

 vulgar and sexually explicit conversations with teenage girls in order to

 get them to masturbate with different objects and to show their naked

 bodies on camera.       For example, below is a still image from an


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 approximately 15-minute long video where Kovac and other group

 members enticed MV-20 to engage in sexual activity on Website A.

 MV-20 complies with their directions and encouragement in the video,

 going into the bathroom, taking off all of her clothes, and masturbating

 with an object.    See also, Gov. Ex. D, Website A Group Enticement

 Examples, Filed Under Seal. A few of Kovac’s comments during the video

 include: “I can you all over me you are so wet,” “MV-20 yes faster,” and “I

 want to see you cum so hard.”




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       Another example involved MV-8, who was 15 years old at the time

 of the chat listed below. In early 2016, Kovac and others enticed MV-8 to

 insert an Easter egg into her vagina. A short excerpt from the nearly

 30-minute recording is below:

 DOMINGUEZ:        mmmmm
 MASSEY:           nice
 KOVAC:             [tongue out emoji]
 KOVAC:            yummy
 ROBINSON:         lucky egg
 *****
 KOVAC:             i want to stick my tongue in there
 GM-1:1            mmmm
 MASSEY:           damn that’s hot
 DOMINGUEZ:        so damn nice
 ROBINSON:         best tasting eggs ever i bet
 GM-2:             mmm
 KOVAC:            i want to hunt for it

 Later, the group convinced this same victim to engage in sexual activity

 with her dog. When she expressed some concern, the group encouraged

 her to continue. Kovac assured her, “it will be fine.” Other comments

 Kovac made during the video included: “press it hard against your clit”


 1
  Throughout the exhibits and this memorandum, the name of an unidentified girl
 who is believed to be a minor is replaced with MV and group members who have
 yet to be identified are replaced with GM followed by a number. The usernames
 of group members who have been identified and charged in either a criminal
 complaint or indictment are replaced with their real names. The chats in the
 exhibits and memorandum have been transcribed into a word document from their
 original format and are excerpts from videos and/or Skype conversations.

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 and “that’s hot af” and “looks like it feels so amazing.” This victim, MV-8,

 would go on in another chat to express suicidal thoughts to the group.

 They mocked her for it among themselves in their Skype chats.

    E. Kovac’s Arrest, Statements, and Forensic Examination
       Results of his Electronic Devices

       Eventually, the FBI caught up with Kovac. On August 1, 2017, the

 FBI executed a search warrant at his residence in Sparks, Nevada.

 Kovac lived alone in a one-bedroom apartment. Kovac made several

 significant admissions when talking with the FBI, including that he:

     was Chris of the Skype group;

     was a “talker” for the group;

     masturbated to child pornography 1-2 times per week;

     was on Website A every day for about two years;

     recorded victims’ activity;

     pretended to be a 15-16 year-old boy while on Website A;

     used a “loop” of a 15-16 year-old boy;

     distributed recordings to other group members;

     has downloaded child pornography of children under the age of 10;

     first started masturbating to child pornography 10 years ago.



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       The FBI recovered numerous electronic devices from Kovac’s

 residence. These are the tools with which Kovac participated in the child

 exploitation enterprise. As of the date of this memorandum, the FBI has

 only been able to analyze approximately 6.7% of the content on Kovac’s

 devices because of the vast quantity of data they contain. Kovac had over

 18 terabytes of information on his devices.            The partial forensic

 examination of Kovac’s devices has so far revealed 48,392 child exploitive

 images and videos, over 1,724 child pornography images, and

 approximately 1,405 child pornography videos. The child pornography

 videos date back to May 2013. The longest child pornography video was

 2 hours and 9 minutes; the total length of his child pornography and child

 exploitive video collection spanned nearly 900 hours.

       Kovac recorded multiple child pornography videos of numerous

 victims from Website A and Website B. To give just a few examples, he

 recorded 6 child pornography videos of MV-10 and another 59 that were




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 child exploitive.2 He recorded 26 child exploitive videos of MV-11.3 He

 recorded 11 child pornography videos of MV-274 and 22 that were child

 exploitive. And, he recorded numerous child pornography and/or child

 exploitive videos of MV-8, MV-21, and MV-35. Along with the child

 pornography videos, Kovac recorded these young girls doing things like

 rubbing or showing their breasts, hanging out with friends, and napping.

       Some of the ways Kovac titled the videos he recorded demonstrates

 his depravity and what he thinks of the children he exploited.                 For

 example, the videos he saved used terms like the following: “sexy ass

 twerk;” “girl spread shows her . . . ;” “whatever the bitches name is . . .;”

 “tight lil shaved pussy;” “curlion iron bate n moaning.”

       The content of those videos, moreover, is disturbing. A video of an

 unidentified minor, referred to by the FBI as MV-60, spans 58 minutes.

 The video shows this girl, who is approximately 15-17 years of age,


 2
   MV-10’s mother plans to address the Court at sentencing. MV-10 was 13 when
 she was first victimized by the group.

 3
  In the wake of her exploitation by Kovac and others, MV-11 attempted suicide,
 was hospitalized, was enrolled in a $60,000 program, and has just recently returned
 to her parents’ home.
 4
  MV-27 was 15 and her parents report that she struggled immensely because of the
 offense conduct. See Gov. Ex. A-27, Victim Impact Statement for MV-27.

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 bathing, masturbating with a hairbrush, and involving her dog in sexual

 activity. Kovac thought enough of this video to keep it. Another video

 recovered from Kovac’s devices involved two victims: MV-21 and MV-41.

 This video is 1 hour 12 minutes and 56 seconds long. It starts with MV-

 21 and MV-41 sitting on a bed wearing a black tank top and a green shirt,

 respectively. MV-21 then puts on a pink t-shirt and displays her buttocks

 and genitals to the camera. After simulating oral sex on a phallic object,

 she displays her genitals to the camera and inserts the object. MV-41 is

 then depicted on the screen for a period, then MV-41 and MV-21 both

 simulate oral sex on similar phallic objects. MV-41 briefly inserts the

 phallic object into her vagina and then both MV-21 and MV-41

 masturbate by inserting the phallic objects while sitting next to each

 other and displaying both of their vaginas to the web camera. Again,

 Kovac kept this video. These serve as just examples of the types of videos

 the Skype Group sought. The FBI’s investigation has shown that the

 group consistently asked its victims to engage in increasingly depraved

 sex shows, especially masturbating with objects and using animals in

 sexual acts.




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       Login information provided by Website A showed the frequency

 with which Kovac was involved in the child exploitation enterprise. In

 the fourteen-month period from April 3, 2015, to June 15, 2016, Kovac

 logged into Website A 6,054 times. That averages out to approximately

 14 logins every single day. Kovac’s conduct, moreover, continued right

 up until the FBI executed the search warrant at his home. The forensic

 analysis of Kovac’s devices revealed that Kovac’s recordings were dated

 up to two days before the search warrant execution.

       Finally, unlike other members of the Skype Group, Kovac had child

 pornography involving infants and toddlers among his collection.

    F. Victim Information

       Hopefully not lost in all of the numbers listed above is the

 individual impact of the manipulation on each victim. The consequences

 were devastating.

       Several victims have provided the Court with victim impact

 statements. MV-1 wrote that she is “humiliated” and “mortified” that

 she was tricked into engaging in this conduct. “My work in school has

 lost its quality, my life at home felt like hell from day to day in high

 school, my friends turned into foes, and I lost my spirit to live a happy


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 life.” See Gov. Ex. A-1, Victim Information, Filed Under Seal. MV-66

 explained that during her period of victimization, she suffered from

 anxiety and depression. She turned to the internet so she could be

 herself.   But the Skype Group awaited her.            Since learning that

 recordings were made of the sexual activity she engaged in, MV-66

 explained her feelings this way: “It has been tearing me to pieces just

 wanting to know who’s seen them and how much they were spread. I’ve

 been just disgusted with myself and haven’t been motivated to do

 anything. . . . This case will be on my mind till the day I die.” See Gov.

 Ex. A-66, Victim Information, Filed Under Seal.

       Letters from the parents prove equally heartbreaking. MV-27’s

 parents described how their daughter’s grades fell, she lost weight, and

 did not make friends at school. MV-27 now sees a therapist and takes

 medication, but that medication “comes with a price. She has no real

 emotions anymore or any real heartfelt expressions coming out.” See

 Gov. Ex. A-27, Victim Information. MV-8 and MV-15 are sisters. Their

 mother wrote a letter to the Court. MV-8 “spent a long time crying every

 night… her sleep declined… we now see a counselor regularly.” MV-15




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 has “retreated” from the happy little girl she was prior to falling victim

 to this group. See Gov. Ex. A-8, A-15 Victim Information.

       These crimes likewise have a lasting impact on the parents of the

 victims. Most blame themselves, while others mourn the loss of the

 daughter they knew. MV-27’s father described how his daughter doesn’t

 hug him in the morning any more. MV-4’s parents explained how the

 crimes tore a hole in the relationship between MV-4 and her mother.

 That whole family feels “distraught, embarrassed, and shocked that

 something like this could have happened to our daughter and family.”

 See Gov. Ex. A-4, Victim Information. The mother of MV-8 and MV-15

 wrote, “I worry about them every day.” As for the offenders, she wonders:

 “They have changed our lives forever, where we won’t be the same. Will

 they feel this for the rest of their lives?”

       For other girls, their victimization was simply too much for them to

 handle. MV-11, victimized by the group at the age of 14, attempted

 suicide soon after authorities got in touch with her parents about

 Website A. She then spent months at an intensive, in-treatment facility

 far from home. She missed a year of school. Given her recent progress,

 that family will not be attending the sentencing hearing.


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       Likewise, MV-53 (who was 16 years old at the time of the offense)

 attempted suicide and was hospitalized two times in 2017; the second

 time, she drank half a bottle of Benadryl. She has been cutting herself

 and also physically hurting herself by slamming her head against the

 wall. Her parents have been trying to find money to get a permanent

 therapy dog for MV-53. MV-52 (who was 15) reported that people on

 Website A blackmailed her, telling her that if she did not perform certain

 sexual acts, such as spreading her “ass,” “finger[ing] her pussy,” and

 “shaving” around her vagina, they would spread her pictures all over the

 Internet. When she stopped doing what they asked, someone on the

 website reached out to her and explained that he knew her address and

 was in her city and coming to visit her. When she told them her mom

 was with her, the individual said he was going back home. See Gov. Ex.

 A-52, Victim Information.

       MV-50 (who was 16) struggles with cutting, is in therapy, and is on

 medication for depression. MV-54 (who was 12) now has a post-traumatic

 stress disorder diagnosis, is on medication and in counseling, and was

 recently sexually assaulted. MV-55 (who was 13 or 14) was blackmailed

 by a Website A user. The user made her write “slut” on her forehead with


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 lipstick, told her he knew what high school she was going to and that he

 was going to move there, found her Facebook profile, and found out who

 her parents were and threatened to send them sexually explicit

 photographs if she did not keep doing what he asked.

       Finally, several victims will appear at sentencing to tell the Court

 and Kovac how these crimes changed their lives.              And while the

 government urges the Court to consider all of these victim impact

 statements in fashioning the sentences in this case, it should be noted

 that the FBI has identified just 48 victims of the Skype Group. There are

 over a hundred more who remain unidentified and who will not be able

 to tell the Court their stories.

                             II
               ADVISORY SENTENCING GUIDELINES

       The Guidelines in this case are not in dispute. The parties agree

 that Kovac is a criminal history category I with an offense level 43,

 resulting in a Guideline range of life imprisonment. (PSR ¶ 96).

                             III
               SENTENCING FACTORS, 18 U.S.C. § 3553

       Congress has provided, through 18 U.S.C. § 3553(a), the relevant

 objectives and factors to be considered by sentencing courts in imposing


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 a “sentence sufficient, but not greater than necessary.” Those objectives

 are: (1) the nature and circumstances of the offense, and the history and

 characteristics of the defendant; (2) the need for a sentence to reflect the

 basic     aims   of   sentencing      (including   retribution,     deterrence,

 incapacitation, and rehabilitation); (3) the kinds of sentences legally

 available; (4) the Sentencing Guidelines; (5) Sentencing Commission

 policy statements; (6) the need to avoid unwarranted sentencing

 disparities among defendants with similar records who have been found

 guilty of similar conduct; and (7) the need for restitution.

         The most relevant factors are evaluated below, beginning with

 number 4, the sentencing guidelines.

    A. The Advisory Guideline Range

         In United States v. Rita, 551 U.S. 338 (2007), the Supreme Court

 restated that the goals of the United States Sentencing Commission in

 formulating the Sentencing Guidelines are to carry out the objectives of

 18 U.S.C. § 3553(a).        Despite their being advisory, rather than

 mandatory, the Guidelines remain an important factor in fashioning a

 just sentence. As the Supreme Court stated in Rita, “it is fair to assume




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 that the Guidelines, insofar as practicable, reflect a rough approximation

 of sentences that might achieve section 3553(a)’s objectives.” Id. at 345.

       In United States v. Vonner, 516 F.3d 382, 389 (6th Cir. 2008), the

 Court in analyzing the holding in Rita, recognized that the guidelines

 represent the Sentencing Commission’s attempt to reconcile the factors

 under § 3553(a), that these factors seek to balance Congress’ competing

 interests in consistency and that a confluence between the national views

 of the sentencing commission and the independent views of a sentencing

 judge results in a “double determination” which significantly increases

 the likelihood that a sentence is reasonable.

       As indicated above, the parties agree that the sentencing guidelines

 in this case are life in prison.

    B. The Nature and Circumstances of the Offense

       The nature and circumstances of the offense warrant the

 Government’s requested 50-year sentence.           Kovac was one of the

 principal participants in two different international, multi-year child

 exploitation enterprises. Over one hundred victims fell prey to these

 groups. And Kovac was in the center of it all. In the group’s lengthy

 discussion threads where they coordinated their attacks on these girls,


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 Kovac wrote more than 15,000 lines of text to his confederates. His

 computers contained thousands of child pornography images and videos,

 and tens of thousands of child exploitative videos (where the group

 groomed, manipulated, and pressured girls to display their naked

 bodies). The login information from Website showed him on that website

 14 times per day during one period of his conduct.            Kovac himself

 admitted to spending multiple hours every day on Website A.

       Kovac’s individual comments to victims, and about victims,

 underscored his depravity. When MV-8 masturbated with an Easter egg,

 Kovac told her “I want to hunt for it.” In a separate chat, he and the

 other group members mocked MV-8 for being “emo” (short for emotional)

 and for “suicide drama.” She was 15 years old at the time. He encouraged

 dozens of girls, including MV-20, MV-8, and MV-66, to masturbate.

       The results of the forensic examination of Kovac’s devices are

 important in analyzing the nature and circumstances of the offense.

 Kovac had thousands of videos, often very lengthy, of the victims from

 Website A and Website B.         Kovac’s collection involved particularly

 lengthy videos (with a total length spanning more than 900 hours). He

 created recordings of girls showering and engaged in bestiality, and he


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 was a part of the “team” that enticed these girls to do all of those things.

 And unlike many of his co-defendants, Kovac’s collection included child

 pornography involving infants and toddlers.

    C. History and Characteristics of the Offender

       Kovac’s personal characteristics are unremarkable. Kovac is 49

 years old, single, with no children. (PSR ¶ 66). He had a fairly stable

 upbringing and continues to have the support of his parents. (PSR ¶¶ 60-

 63, 69). Kovac has no medical, mental health, or substance abuse issues.

 (PSR ¶¶ 70-77). He has maintained steady employment, but does not

 appear to have any significant hobbies or activities beyond his

 participation in these two child sexual exploitation enterprises.

 (PSR ¶¶ 83-92).     Nothing about Kovac’s history or characteristics

 warrants a departure or variance from the guidelines range.

    D. The Sentence Imposed Must Reflect the Seriousness of the
       Offense, Promote Respect for the Law, and Provide Just
       Punishment

       A 50-year sentence here properly reflects the purposes of

 sentencing. The offense of child exploitation enterprise is incredibly

 serious as it involves multiple defendants working together to exploit

 multiple victims.       Congress identified the seriousness of child


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 exploitation enterprises when it set the minimum penalty at 20 years,

 which is the highest minimum punishment set forth in federal law for

 first-time, non-homicide offenses. But the Skype Group’s conduct exceeds

 even the regular child exploitation enterprise. Kovac and other group

 members produced child pornography of hundreds of minor females over

 the course of several years, and enticed countless others.               They

 manipulated, lied to, badgered, and tricked their victims.

       Some of these victims were targeted on a weekly or daily basis by

 the group. For example, the group convinced MV-8 to masturbate with

 numerous objects on a weekly basis for more than a year. Several of these

 girls carried on relationships with Website A users, believing they were

 dating them and calling them their boyfriends.           Their “boyfriends”

 continually asked them for sexual videos and images, which they

 provided in order to keep the relationship going. For some, the sudden,

 unexplained end to the relationship when their “boyfriend” lost interest

 was devastating. It led them to spiral into a deep depression and seek

 mental health treatment.

       This group has normalized sexual behavior that is completely

 abnormal. They have robbed these young minor girls, some as young as


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 ten-years old, of their innocence. They have taught them that they are

 only special and will only get attention and “fit in” with others their age

 if they are willing to let others exploit their bodies. For those that have

 been identified, hopefully their parents are able to help bring healing and

 restore them day by day. But, for those that are not identified, there is

 no telling what damage Kovac’s group has done, and whether they will

 ever be able to live productive, healthy lives.

       To promote respect for the law, a sentence far above the mandatory

 minimum must be imposed. Adequate punishment here—which in this

 case is difficult to quantify—should be measured in terms of decades, not

 years, in prison.

    E. Deterrence

       A significant prison sentence for Kovac will send a general

 deterrence message to other, like-minded individuals.           Because the

 Internet allows users to maintain anonymity, an offender need only have

 recording software and knowledge of an unmonitored website to do what

 this group did. The recording software that the majority of them used is

 free and can be downloaded by anyone with the click of a button.

 Moreover, as this group’s conduct demonstrates, it has become


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 increasingly easy for groups like this to create their own websites (like

 Website B) to target minors. Thus, deterrence in these types of cases is

 of incredible importance. Potential offenders who think about doing what

 this group did, which has left permanent scars on so many young girls,

 should know that, if they are caught, they will likely spend the rest of

 their lives in prison.

       Most importantly, a 50-year sentence is necessary to protect the

 public. Kovac only stopped his criminal conduct because the FBI broke

 down his door. Victims discussing suicide did not stop him. Victims

 cutting themselves did not stop him. Victims as young as 12 did not stop

 him. Hearing of the possible arrests of others did not stop him. Only a

 significant prison sentence will stop Kovac from hurting other children.

    F. Avoiding Unwarranted Sentence Disparities

       A sentence of 50 years also avoids unwarranted sentencing

 disparities. Here, this group’s conduct is at an entirely different level

 than most child exploitation offenses (even other child exploitation

 enterprises). Kovac and his friends imposed what amounts to a life

 sentence on hundreds of minor victims who they actively exploited for




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 several years. A sentence of 50 years will not result in any unwarranted

 sentencing disparities.

       The following chart sets forth the government’s recommendations

 for each of the defendants in this case. This provides just a snapshot of

 the differences in the conduct of the offenders, and therefore the

 differences in the government’s sentencing recommendations for each

 defendant.

  Defendant       CP Files       Activity                                  Sentence
  Terry Kovac     3,129 and          On Website A almost daily up to      50 years
                  48,392               the date of the search warrant
                  child              Also on Website B
                  exploitive         In two different groups
                  so far             Exploited minors for at least 6
                  (only 6.7%           years on Website A
                  of forensics       Talker and looper
                  complete)          Interested in minors under the
                                       age of 10 and masturbates twice a
                                       week to minors on Website A
  Felipe          9,479 and          On Website A almost daily all the    40 years
  Dominguez-      15,735               way up to the date of the search
  Meija           child                warrant
                  exploitive         Active on Website B
                  so far (only       One of the most aggressive
                  5.5% of              talkers and very active in the
                  forensics            Skype Group chat
                  complete)          Actively exploiting girls for at
                                       least 5 years
  Noel Eisley     2,730 and           On Website B regularly –            40 years
                  9,527 child           stopped frequenting the group in
                  exploitive            early 2016 but continued to
                  so far                target minors one-on-one
                  (only 4.5%          On Website A regularly starting
                  of forensics          at least as early as 2012 and
                  complete)             through early 2016

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                                         Actively exploiting children for
                                          more than four years
                                         Talker and Looper

  Bret Massey        7,635 and           On Website A on a near daily         35 years
                     15,747               basis for two to three years
                     child               Also active on Website B for short
                     exploitive           period of time
                                         One of the more aggressive
                                          talkers in the group and very
                                          active in the Skype Group chat;
                                          also had a loop that he
                                          occasionally used

  William Phillips   1,803 and           On Website A on a near daily       30 years
                     5,908 child          basis for five + years up through
                     exploitive           the date of the SW (laptop active
                                          on Website A during SW
                                          execution)
                                         In two different groups
                                         Looper, hunter, and talker
                                         Very active on Skype with co-
                                          conspirators
                                         At least one identified minor in
                                          EDMI believed he was her
                                          boyfriend and he carried on a
                                          relationship with her resulting in
                                          significant trauma
  Eric Robinson      6,647 and           On Website A on a regular basis 40 years
                     28,700 child         from 2012 up through the summer
                     exploitive           of 2016 when a search warrant
                     so far (only         was executed at his residence
                     18.2%               In two different groups
                     complete)           Active on Website B and the Skype
                                          Group chat
                                         Talker and looper




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                               IV
                     RESTITUTION STIPULATION

       The parties stipulated to a restitution amount of $5,000 per

 identified victim of the offense. The parties have prepared a restitution

 stipulation for the 48 identified victims. The money shall be paid by the

 Defendant to the Clerk’s Office, who will then make payments to the

 parents of the victims or the victims (if they are 18 at the time of

 sentencing).




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                                   V
                               CONCLUSION

       The Government requests that the Court impose a sentence of

 50 years’ imprisonment followed by 10 years of supervised release.



                                    Respectfully submitted,

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                           Certificate of Service

       I hereby certify that on July 10, 2018, I electronically filed the

 Government’s Sentencing Memorandum for the United States under seal with the

 Clerk of the Court of the Eastern District of Michigan. I sent the memorandum

 and attached exhibits via Fed-Ex to defense attorney.

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